         Case 8:23-bk-10571-SC Doc 142 Filed 06/24/23 Entered 06/24/23 21:15:57                                                                     Desc
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                                                              United States Bankruptcy Court
                                                               Central District of California
In re:                                                                                                                 Case No. 23-10571-SC
The Litigation Practice Group P.C.                                                                                     Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0973-8                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Jun 22, 2023                                               Form ID: pdf042                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 24, 2023:
Recip ID                  Recipient Name and Address
db                      + The Litigation Practice Group P.C., 17542 17th St, Suite 100, Tustin, CA 92780-1981

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 24, 2023                                            Signature:           /s/Gustava Winters




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 22, 2023 at the address(es) listed below:
Name                               Email Address
Alan Craig Hochheiser
                                   on behalf of Creditor City Capital NY ahochheiser@mauricewutscher.com arodriguez@mauricewutscher.com

Alan I Nahmias
                                   on behalf of Interested Party Courtesy NEF anahmias@mbn.law jdale@mbnlawyers.com

Andrew Still
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Byron Z Moldo
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Christopher Celentino
                                   on behalf of Plaintiff Richard A. Marshack christopher.celentino@dinsmore.com caron.burke@dinsmore.com

Christopher Celentino
                                   on behalf of Trustee Richard A Marshack (TR) christopher.celentino@dinsmore.com caron.burke@dinsmore.com
         Case 8:23-bk-10571-SC Doc 142 Filed 06/24/23 Entered 06/24/23 21:15:57                                                 Desc
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District/off: 0973-8                                        User: admin                                                        Page 2 of 3
Date Rcvd: Jun 22, 2023                                     Form ID: pdf042                                                   Total Noticed: 1
Christopher Ghio
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D Edward Hays
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                          ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.courtdrive.com

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                          lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

Laila Masud
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                          lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

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Olivia Scott
         Case 8:23-bk-10571-SC Doc 142 Filed 06/24/23 Entered 06/24/23 21:15:57                                                     Desc
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Date Rcvd: Jun 22, 2023                                       Form ID: pdf042                                                      Total Noticed: 1
                             on behalf of Creditor Hi Bar Capital LLC olivia.scott3@bclplaw.com

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                             on behalf of Attorney Paul R. Shankman PShankman@fortislaw.com info@fortislaw.com

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                             jmartinez@wghlawyers.com;svillegas@wghlawyers.com

Richard H Golubow
                             on behalf of Creditor MC DVI Fund 2 LLC rgolubow@wghlawyers.com,
                             jmartinez@wghlawyers.com;svillegas@wghlawyers.com

Richard H Golubow
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                             raul.morales@bclplaw.com,REC_KM_ECF_SMO@bclplaw.com

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United States Trustee (SA)
                             ustpregion16.sa.ecf@usdoj.gov

Victoria Newmark
                             on behalf of Interested Party Courtesy NEF vnewmark@pszjlaw.com


TOTAL: 48
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     Christopher Celentino (State Bar No. 131688)
   2 Jonathan Serrano (State Bar No. 333225)
     DINSMORE & SHOHL LLP
                                                                       FILED & ENTERED
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     San Diego, CA 92101                                                    JUN 22 2023
   4 Telephone: 619.400.0500
     Facsimile: 619.400.0501
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     christopher.celentino@dinsmore.com                                Central District of California
                                                                       BY bolte      DEPUTY CLERK
   6 jonathan.serrano@dinsmore.com

   7 Proposed Special Counsel to Richard A. Marshack,
     Chapter 11 Trustee
                                                               CHANGES MADE BY COURT
   8

   9
                               UNITED STATES BANKRUPTCY COURT
  10
                                CENTRAL DISTRICT OF CALIFORNIA
  11
                                         SANTA ANA DIVISION
  12

  13 In re:                                               Case No. 8:23-bk-10571-SC
  14 THE LITIGATION PRACTICE GROUP P.C.,                  Chapter 11
  15          Debtor.                                     INTERIM ORDER GRANTING
                                                          EMERGENCY SUPERPRIORITY
  16                                                      FINANCING BY THE CHAPTER 11
                                                          TRUSTEE
  17
                                                      Date:     June 20, 2023
  18                                                  Time:     3:00 p.m.
  19                                                  Judge:    Hon. Scott C. Clarkson
                                                      Place:    Courtroom 5C
  20                                                            411 West Fourth Street
                                                                Santa Ana, CA 92701
  21

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  25          On June 20, 2023, on the 3:00 p.m. calendar, in Courtroom 5C of the United States

  26 Bankruptcy Court, located at 411 West Fourth Street, Santa Ana, California 92701, the Honorable
  27 Scott C. Clarkson, United States Bankruptcy Judge, conducted a hearing on the 7UXVWHH¶V1RWLFHRI

  28 Motion and Emergency Motion (I) for Entry of Interim Order: (A) Authorizing The Trustee to Obtain


                                                      1
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   1 Post-Petition Financing and Superpriority Administrative Expense Claim Pursuant to 11 U.S.C. §

   2 364; and (B) Setting Final Hearing; and Pursuant to Final Hearing, (II) for Entry of Final Order

   3 Approving Post-Petition Financing on a Final Basis [Docket No. 119@ WKH³Motion´ ILOHGRQ-XQH

   4 E\5LFKDUG$0DUVKDFNWKH&KDSWHU7UXVWHH WKH³Trustee´ IRUWKHEDQNUXSWF\HVWDWH

   5    WKH ³Estate´  RI 7KH /LWLJDWLRQ 3UDFWLFH *URXS 3& WKH ³Debtor´), in the above-captioned

   6 bankruptcy case.

   7           The Court, having considered the Motion, all pleadings filed in support of, and in opposition

   8 to, the Motion, good cause appearing, and for the reasons stated on the record and in the Motion:

   9           1.      Grants the Motion;

  10           2.      Approves the terms of that certain Super-Priority Promissory Note (the "Note") as

  11 attached as Exhibit 2 WRWKH7UXVWHH¶V'HFODUDWLRQ

  12           3.      Authorizes the Trustee to borrow, and the Lender (as defined in the Motion) to

  13 advance up to $800,000 in the aggregate, including an initial advance in the amount of $350,000

  14 and a subsequent advance of up to $450,000, at an interest rate of 8% per annum, with the full

  15 balance, including all accrued interest, due and payable in one year from the Start Date (as defined

  16 in the Note), with payments first credited to interest due and any remainder credited to principal, as

  17 provided under the Note, subject to the terms of this Order;

  18           4.      Authorizes the Trustee to execute and deliver to the Lender the Note and all other

  19 loan documents required to be executed and delivered under the Note;

  20           5.      Authorizes the Trustee and counsel acting on behalf of the Trustee to take any such

  21 actions that may be necessary to implement the Note and borrow funds under the Note as approved

  22 in this Order;

  23           6.      Finds that immediate financing is critical for the Debtor to continue its operations in

  24 WKH RUGLQDU\ FRXUVH DQG WKDW WKH 1RWH WKH 7UXVWHH¶V HQWU\ LQWR WKH ILQDQFLQJ DUUDQJHPHQW DQG

  25 related relief is necessary to avoid immediate and irreparablH KDUP WR WKH 'HEWRU¶V (VWDWH LWV

  26 employees, and all parties in interest; and that the Note is the best source of financing available to
  27 WKH'HEWRUXQGHUWKHFLUFXPVWDQFHVDQGZDVHQWHUHGLQWRLQJRRGIDLWKDQGDWDUP¶VOHQJWK

  28           7.      Find that the terms of the Note and this Order are fair and reasonable and are

                                                            2

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   1 supported by reasonably equivalent value and fair consideration;

   2          8.      )LQGVWKDWWKH7UXVWHH¶VDJUHHPHQWWRWKHWHUPVRIWKH1RWHRQEHKDOIRIWKH'HEWRU

   3 is a sound exercise of business judgment and should be approved as set forth herein;

   4          9.      Authorizes the Trustee to enter into any non-material amendment or modification to

   5 the Note, including but not limited to agreeing on the amount of the subsequent advance up to

   6 $450,000, without further order of this Court, provided that any such non-material amendment or

   7 modification is set forth in writing and signed by the Trustee and the Lender, and provided that the

   8 Trustee provides notice of any such amendment or modification to the Court and the Office of the

   9 United States Trustee;
  10          10.     Authorizes the Trustee to use funds advanced under the Note on the terms and

  11 conditions set forth herein, provided that all such funds are used to pay payroll and other operating

  12 expenses solely;

  13          11.     Grants the Lender an allowed superpriority administrative claim pursuant to section

  14 364(c)(1) of the Bankruptcy Code, having priority in right of payment over any and all other

  15 administrative expenses or priority claims;

  16          12.     6XEURJDWHVWKH/HQGHU¶VFODLPRQDFFRXQWRIIXQGLQJSD\UROOWRWKHDGPLQLVWUDWLYH

  17 expense claims otherwise held by employees that have provided post-petition services since the

  18 7UXVWHHKDVVHUYHGWKH&RXUW¶V752DQGWDNHQFRQWURORIRSHUDWLRQV

  19          13.     Requires the approval and authorization of the Trustee for paying any and all

  20 expenses; or, in the event the Trustee is unavailable, requires the approval and authorization from

  21 /RUL(QVOH\RURQHRIWKH7UXVWHH¶VODZILUPSDUWQHUV(G+D\V'DYLG:RRGRU/DLOD0DVXGIRU

  22 paying any and all expenses;

  23          14.     Directs that all ordinary business expenses approved by the Trustee shall be paid for

  24 by a trustee check;

  25          15.     Finds that the financing provided under the Note shall be deemed to have been

  26 extended in good faith and for valid business purposes and uses within the meaning of section 364(e)
  27 of the Bankruptcy Code;

  28          16.     Finds that there is no stay of this Order, including no stay pursuant to Rule 6004(h)

                                                        3

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   1 of the Federal Rules of Bankruptcy Procedure (to the extent applicable);

   2          17.    Sets a final hearing on the Motion for July 20, 2023 at 9:30 a.m.; and

   3          18.    Retains jurisdiction with the Court with respect to all matters arising from or related

   4 to the implementation of this Order.

   5          IT IS SO ORDERED.

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  24 Date: June 22, 2023

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